Case 17-23426-|\/|A|\/| Doc 1 Filed 11/06/17 Page 1 of 7

' ,-,;,.

4/
. is information to identify your case:

 

United States Bankruptcy Courtfor the:

SOUTHERN DISTR|CT OF FI_OR|DA

 

Case number ()fkn¢>wn) Chapter you are Hling under:
I:] Chapter7
chapterii
[:3 Chapter 12

|:] chapter 13 [] check ifthis an
amended filing

 

 

 

Official Form 101
Voluntary Petition for lndividua|s Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together_called ajoint
case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all ofthe fomis. .

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information. lf
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

m identify Yourseif

’A.bout Debtor 1:

 

Ab"out Debtor§ {Spou`she/Onlyin"a doint Case):,

1. Your full name

  

Write the name that is On Robert .(

your govemment-issued First name g First name
picture identification (for div . , l

example, your driver's

 

 

 

license Or paSSPOVt)- Middle name y x Midd|e name
Bring your picture Matthews
identification to your Last name and gufo (Sr.l Jr., ll, lll) `:' Last name and Suft"ix (Sr.. Jr., ll, lll)

meeting with the trustee.

 

 

2. All other names you have
used in the last 8 years Robert V- Matthews

. Bob Matthews
Include your mamed or y

maiden names.

 

 

3. Only the last 4 digits of
your Social Security
number or federal , m_xx_3047
|ndividual Taxpayer
ldentification number
(lTlN)

 

Oft`icia| Form 101 Voluntary Petition for lndividuals Filing for Bankruptcy page 1

if
-r

Debtor1 Robert Matthews

4. Any business names and
Employer ldentitication
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

Case 17-23426-|\/|A|\/| Doc 1 Filed 11/06/17 Page 2 of 7

- Abo‘ut never r1 :

§ l have not used any business name or Ele.

 

Case number ()rknawn)

 

' Abouc camera (s;:§qusé only in a Joint casey

v : [:] l have not used any business name or Ele.

 

Business name(s)

 

. _ Business name(s)

 

Ele

 

EiNs

 

 

5. Where you live

101 Casa Bendita
Pa|m Beach, FL 33480
Number, Street, City, State & ZlP Code

Pa|m Beach
County

|fyour mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

 

|f Debtor 2 lives at a different address:

 

/ ; Number, street city, state & ziP code

 

 

 

  

.j County

" _ lf Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
-’ mailing address.

 

Number, P.O. Box, Street, City, State & ZlP Code

 

` Number, P.O. Box, Street, City, State & ZlP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

Ij l have another reason.

Explain. (See 28 U.S.C. § 1408.)

Check one:

l:l

fm

Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district.

l have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

j » Case 17-23426-|\/|A|\/| Doc 1 Filed 11/06/17 Page 3 of 7

Debtor1 Robert Matthews Case number (ifknown)

 

Tell the Court About Your Bankruptcy Case

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individua/s Filing for Bankruptcy
Bankruptcy Code you are (Fonn 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under l:| Chapter 7
[E chapter 11
[:] _Chapter 12
l:l chapter 13

 

8. How you will pay the fee l§] l will pay the entire fee when l file my petition. Please check with the clerk’s office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
order. lf your attomey is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

|:j l need to pay the fee in installments lf you choose this option, sign and attach the Application for lndividuals to Pay
The Filing Fee in installments (Ofticial Form 103A).

[j l request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive yourfee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). lf you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and tile it with your petition.

 

9. Have you filed for [:] NO_
bankruptcy within the
last 8 years? [E Yes~

Southern District

 

 

 

 

 

 

 

District F|orida, Pa|m Beach When 7/05/17 Case number 17-18453
District When Case number
District When Case number
10. Are any bankruptcy NO
cases pending or being
filed by a spouse who is l:| Yes'
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When ` Case number, if known
11. Do you rent your NO_ GOfO|irie12.
res'den°e? m Yes_ Has your landlord obtained an eviction judgment against you and do you Want to stay in your residence?

|:l No. Go to line 12.

Yes. Fill out lnitial SiatementAbout an Eviction JudgmentAgainst You (Forrn 101A) and file it with this
bankruptcy petition.

 

Ofticial Form 101 Voluntary Petition for lndividuals Filing for Bankruptcy page 3

‘ 1 CaS€ 17-23426-|\/|A|\/| DOC 1 Filed 11/06/17 Page 4 01 7

Deberi Robert Matthews Case number (ifknown)

 

 

Report About Any Businesses You Own as a Sole Proprietor

 

 

12. Are you a sole proprietor
of any full- or part-time IE| No, Go to Part 4.
business?

[:] Yes_ Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individua|, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

lf you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition. Check the appropriate box to describe your business:

Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101 (6))

None of the above

 

 

Number, Street, City, State & Z|P Code

l:ll:li:ii:il:|

 

13. Are you filing under lf you are Hling under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate

Chapter1'l of the deadlines lf you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
you a small business in 11 U.S.C. 1116(1)(B).
debtor?
NO_ lam not filing under Chapter11.

For a definition of small
business debtor, see 11 121 NO_ l am filing under Chapter11, but l am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C. § 101(51D). Code. '

|:| YeS_ l am filing under Chapter 11 and l am a small business debtor according to the definition in the Bankruptcy Code.

 

m Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any ig NO_
property that poses or is
alleged to pose a threat i:] Yes'
of imminent and What is the hazard?

 

identifiable hazard to
public health or safety?

Or do you own any , , , ,
property that needs lf immediate attention is

immediate attention? needed» Why is it needed?

 

For examp/e, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs '

urgent repairs?

 

Number, Street, City, State & Zip Code

 

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4

1
¢

Case 17-23426-|\/|A|\/| Doc 1 Filed 11/06/17 Page 5 of 7

 

Debtor1 Robert Matthews

   

P rf.$=

Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (ifknown}

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. lf you cannot do
so, you are not eligible to
file.

lf you file anyway, the court
can dismiss your case, you
Will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor'ii "

You must check one:

[E] l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

 

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

m l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, butl do not have
a certificate of completion.

Within 14 days after you file this bankruptcy

petition, you MUST file a copy of the certificate and 1

payment plan, if any.

| certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent

circumstances merit a 30-day temporary waiver

of the requirement

To ask for a 30~day temporary Waiver of the
requirementl attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briean within 30 days after you file.
You must Hle a certificate from the approved

agency, along With a copy of the payment plan you § `

developedl if any. lfyou do not do sol your case
' may be dismissed.

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days.

jj l am not required to receive a briefing about
credit counseling because of:

|:] lncapacity.

l have a mental illness or a mental dehciency

that makes me incapable of realizing or
making rational decisions about finances

|:j Disabi|ity.
My physical disability causes me to be
unable to participate in a briefing in person,

by phone, or through the intemet, even after l " " '

reasonably tried to do so.

|:| Active duty.
l am currently on active military duty in a
military combat zone.

|f you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

 

 

 

 

, ' About Debtor/z (Spouse Only in a Joint Case):
/ You must check one: ' '
j [:j l received a briefing from an approved credit
counseling agency within the 180 days before l filed

this bankruptcy petition, and l received a certificate of
completion.

Attach a copy of the certincate and the payment plan, if
any, that you developed with the agency,

|:j l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, but l do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

m l certify thatl asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement

To ask for a 30~day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcyl and what exigent
circumstances required you to tile this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

lf the court is satisfied with your reasons, you must still
receive a brieHng within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developedl if any. lf you do
not do so, your case may be dismissed

Any extension of the 530-day deadline is granted only for
cause and is limited to a maximum of 15 days.

m l am not required to receive a briefing about credit
counseling because of:

|:j lncapacity.
l have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

[:j Dieabiiity.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the intemet, even after l reasonably tried to
do so.

[:j Active duty.
l am currently on active military duty in a military
combat zone.

lf you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for lndividuals Filing for Bankruptcy page 5

a
z

" 1

DebiQi' 1 Robert Matthews

Case 17-23426-|\/|A|\/| Doc 1 Filed 11/06/17 Page 6 of 7

Case number (irknown)

 

 

m Answer These Questions for Reporting Purposes

 

 

16. What kind of debts do 1Sa. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8) as "incurred by an
you have? individual primarily for a personal, family, or household purpose.”
l:| No. soto line 1eb.
@ Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment orthrough the operation of the business or investment
l:l No. Go to line 160.
|:l Yes. soto line 17.
16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under [§:j No_ lam not filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that |___| Yes_ l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses

after any exempt

property is excluded and

are paid that funds Wi|| be available to distribute to unsecured creditors?

 

administrative expenses [:l NO
are paid that funds will

be available for m Ye$
distribution to unsecured

creditors?

18. How many Creditors do j]__49 ; 11000_5’000 : 25’001_50’000
you estimate that you :j 50_99 : 5001-10,000 = 50.001-100,000
owe? 3100-199 __ 10,001~25,000 __J More tnan100,ooo

:l 200~999

 

19. How much do you
estimate your assets to
be worth?

$1,000,001 - $10 million
$10,000,001 - $50 million
$50,000,001 - $100 million
$100,000,001 ~ $500 million

$500,000,001 -$1 billion
$1,000,000,001 - $10 billion
$10,000,000,001 - $50 billion
More than $50 billion

:l - $50,000
3/§§0,001 - $100,000
:l $100,001 - $500,000
:l $500,001 - $1 million

llllllll
lll|l|l|

 

20. How much do you
estimate your liabilities
to be?

_ $1,000,001 -$10 million
$10,000,001 - $50 million
$50,000,001 ~ $100 million
$100,000,001 - $500 million

:] - $50.000

$50,001 - $100,000
:l $100,001 - $500,000
:| $500,001 - $1 million

$500,000,001 - $1 billion
$1,000,000,001 - $10 billion
$10,000,000,001 ~ $50 billion
More than $50 billion

ll ll

 

 

 

 

 

llllllll

 

Sign Below

 

For you

l have examined this petition, and l declare under penalty of perjury that the information provided is true and correct.

lfl have chosen to file under Chapter 7, l am aware that l may proceedx if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. l understand the relief available under each chapter, and l choose to proceed under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out this
document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accord ce With me chapter of title 11, United States Code, specified in this petition.

     

l understand maki a false statement, concealing property, or obtaining money or property by fraud in connection with a

n result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

tthews Signature of Debtor 2

Debtor 1

Robe
Signat
Executed on

Executed on November 5, 2017

l\/ll\/llDD/YYYY

 

 

MM/DD/YYYY

 

Official Form 101

Voluntary Petition for lndividuals Filing for Bankruptcy page 6

O
¢-q °

Dethii Robert Matthews

Case 17-23426-|\/|A|\/| Doc 1 Filed 11/06/17 Page 7 of 7

Case number (rrknown)

 

 

For your attomey, if you are
represented by one

lf you are not represented by
an attorney, you do not need
to file this page.

ll the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligib|e. l also certify that l have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4)(D) applies, certify that l have no knowledge after an inquiry that the information in the

schedules filed with the petition is incorrect

/s/ Christian Panagakos ' Date

 

Signature of At'tomey for Debtor

Christian Panagakos 065579

Printed name

Florida Bankruptcy Advisors, P.L.
Firm name

120 E. Oakland Park Blvd.

Suite 207

Fort Lauderdale, FL 33334
Number, Street, City, State & ZlP Code

 

November 5, 2017
MM / DD /YYYY

cp@FloridaBankruptcyAdvisors.com

 

 

COHiBCl phone 954~600~8990 Email address
065579
Bar number & State

 

Official Form 101

Voluntary Petition for lndividuals Filing for Bankruptcy

page 7

